  Case 1:19-cr-00227-LJV-MJR             Document 1552-2    Filed 05/28/25     Page 1 of 5




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA

              v.                                                 19-CR-227
                                                                 23-CR-37
PETER GERACE, JR.,

                    Defendant.
_____________________________________


                       PRELIMINARY ORDER OF FORFEITURE


       WHEREAS, the Second Superseding Indictment (19-CR-227) contained notice to the

Defendant that upon his conviction of Title 21, United States Code, Section 856(a)(1)

(Maintaining a Drug-Involved Premises), Title 21, United States Code, Section 846

(Conspiracy to Distribute Controlled Substances and Maintain Drug-Involved Premises); and

Title 18, United States Code, Section 1594(c) (Conspiracy to Commit Sex Trafficking), the

United States will seek forfeiture of:

       REAL PROPERTY

               The premises, buildings, appurtenances, improvements, fixtures,
               and real property located at 999 Aero Drive, Cheektowaga,
               New York, and more fully described in a deed filed and recorded
               in Erie County Clerk’s Office, on June 1, 2009 in Book 11162 of
               Deeds at Page 6131 (hereinafter referred to as “999 Aero Drive”).


pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2), and 853(p), and Title

18, United States Code, Sections 1594(d)(1), 1594(d)(2) and 853(p). Second Superseding

Indictment (19-CR-227), ECF 89, p. 42–45;
  Case 1:19-cr-00227-LJV-MJR           Document 1552-2       Filed 05/28/25     Page 2 of 5




        WHEREAS, on or about December 27, 2024, a jury found the Defendant guilty of

Count 3: Title 21, United States Code, Section 856(a)(1) (Maintaining a Drug-Involved

Premises); Count 4: Title 21, United States Code, Section 846 (Conspiracy to Distribute

Controlled Substances and Maintain Drug-Involved Premises); and Count 5: Title 18, United

States Code, Section 1594(c) (Conspiracy to Commit Sex Trafficking). See Jury Verdict, ECF

1426;



        WHEREAS, on or about May 28, 2025, the United States filed a Motion for Forfeiture

of Property, seeking the forfeiture of 999 Aero Drive, pursuant to Rule 32.2(b) of the Federal

Rules of Criminal Procedure, Title 21, United States Code, Section 853(a)(2) and Title 18,

United States Code, Section 1594(d)(1); and



        WHEREAS, the Court has determined that 999 Aero Drive is subject to forfeiture

pursuant to Title 21, United States Code, Section 853(a)(2) and Title 18, United States Code,

Section 1594(d)(1) as: (A) property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the Defendant’s violations of Title 21, United States

Code, Section 856(a)(1) (Maintaining a Drug-Involved Premises) and Title 21, United States

Code, Section 846 (Conspiracy to Distribute Controlled Substances and Maintain Drug-

Involved Premises); and (B) property, real or personal, that was involved in, used, or intended

to be used to commit or to facilitate the commission of the Defendant’s violation of Title 18,

United States Code, Section 1594(c) (Conspiracy to Commit Sex Trafficking), and any

property traceable to such property.
  Case 1:19-cr-00227-LJV-MJR            Document 1552-2         Filed 05/28/25      Page 3 of 5




          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED, that pursuant to Federal Rule of Criminal Procedure 32.2(b)(2), Title 21, United

States Code, Section 853(a)(2), and Title 18, United States Code, Section 1594(d)(1), the

Defendant shall forfeit all right, title, and interest in 999 Aero Drive; it is further



          ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of

Criminal Procedure 32.2(b)(3), and Title 21, United States Code, Section 853(g), the United

States of America is authorized to seize and take all steps necessary and appropriate to protect

its interest in 999 Aero Drive, including taking actual possession of 999 Aero Drive. Any

person or entity which has possession of, or jurisdiction over 999 Aero Drive, is directed to

make 999 Aero Drive available to federal authorities in accordance with this Order; it is

further



          ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of

Criminal Procedure 32.2(b)(3) and Title 21, United States Code, Section 853(h), following

the seizure of 999 Aero Drive, the Attorney General, through the United States Attorney’s

Office and/or any other duly authorized federal agency, shall direct the disposition of 999

Aero Drive making due provision for the rights of any innocent persons; it is further



          ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of

Criminal Procedure 32.2(b)(6)(A) and Title 21, United States Code, Section 853(n)(1), the

United States shall publish notice of this Order and of its intent to dispose of 999 Aero Drive

in such manner as the Attorney General, through the United States Attorney’s Office and/or

any other duly authorized federal agency, may direct. The United States may also, to the
  Case 1:19-cr-00227-LJV-MJR            Document 1552-2         Filed 05/28/25      Page 4 of 5




extent practicable, provide direct written notice to any person known to have alleged an

interest in any portion of 999 Aero Drive, as a substitute for published notice as to those

persons so notified; it is further



       ORDERED, ADJUDGED, AND DECREED, that pursuant to Title 21, United

States Code, Section 853(n)(2), any person, other than the Defendant, having or claiming a

legal interest in 999 Aero Drive, must file a petition with the court within thirty (30) days of

the final publication of notice, or of receipt of actual notice, whichever is earlier, for a hearing

to adjudicate the validity of the petitioner’s alleged interest in 999 Aero Drive; it is further



       ORDERED, ADJUDGED, AND DECREED, that pursuant to Title 21, United

States Code, Section 853(n)(3), any petition shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in

999 Aero Drive, and any additional facts supporting the petitioner’s claim, and the relief

sought; it is further



       ORDERED, ADJUDGED, AND DECREED, pursuant to Federal Rule of Criminal

Procedure 32.2(b)(4)(A) and (B), this Preliminary Order shall become final as to the

Defendant at the time of the Defendant’s sentencing and shall be made part of the Defendant’s

sentence and included in his judgment of conviction. If no third-party files a timely claim, this

Preliminary Order, together with Supplemental Orders of Forfeiture, if any, shall become the

Final Order of Forfeiture, as provided by Federal Rule of Criminal Procedure 32.2(c)(2). At
  Case 1:19-cr-00227-LJV-MJR          Document 1552-2        Filed 05/28/25    Page 5 of 5




that time, 999 Aero Drive shall be forfeited to the United States for disposition in accordance

with the law.



         SO ORDERED.


Dated: __________________, 2025
       Buffalo, New York



                                            ______________________________________
                                            HON. LAWRENCE J. VILARDO
                                            UNITED STATES DISTRICT JUDGE
